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            GOOGLE LLC
        9
      10                                    IN THE UNITED STATES DISTRICT COURT

      11                                FOR THE NORTHERN DISTRICT OF CALIFORNIA

      12                                                     SAN JOSE DIVISION

      13    IN RE NEXUS 6P PRODUCTS LIABILITY                          Case No. 5:17-cv-02185-BLF
            LITIGATION
      14                                                               DECLARATION OF MYISHA FRAZIER IN
                                                                       SUPPORT OF PLAINTIFFS’
      15                                                               ADMINISTRATIVE MOTION TO SEAL (ECF
                                                                       193)
      16
                                                                       Ctrm: 3, 5th Floor
      17                                                               Judge: Honorable Beth Labson Freeman
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                    DECLARATION OF MYISHA FRAZIER IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE MOTION
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        1            I, Myisha Frazier, declare as follows:

        2            1.      I am Director, Hardware Legal, at Google LLC (“Google”). I make this declaration from

        3   personal knowledge, and if called to testify, I could and would testify competently thereto.

        4            2.      Plaintiffs Edward Beheler, Brian Christensen, Yuriy Davydov, Alex Gorbatchev, Rebecca

        5   Harrison, Zachary Himes, Kenneth Johnston, Taylor Jones, Justin Leone, Jonathan Makcharoenwoodhi,

        6   Anthony Martorello, James Poore, Jr., and Paul Servodio (collectively, “Plaintiffs”) filed a motion to seal

        7   the redacted portions of Plaintiffs’ Memorandum of Law in Support of Plaintiffs’ Motion for Preliminary

        8   Approval (“Motion”) and the redacted portions of the Joint Declaration of Daniel C. Girard and

        9   Benjamin F. Johns in support of Plaintiffs’ Motion for Preliminary Approval of Class Action Settlement
      10    (“Declaration”). ECF 193.
      11             3.      Google seeks to seal the redacted portions of pages 5:21, 6:15-17, 16:2-3, 19:2-3, 22:21-
      12    22 of the Motion because they contain competitively sensitive business and financial information.
      13    Specifically, the redacted portions of those pages contain the approximate number of Nexus 6P
      14    smartphones sold in the United States, or information from which the approximate number of Nexus 6P
      15    smartphones sold in the United States could be derived or estimated.
      16             4.      Google seeks to seal the redacted portions of pages 7:6, 7:27-28, and 8:1 of the
      17    Declaration because they contain competitively sensitive business and financial information.
      18    Specifically, the redacted portions of those pages contain the approximate number of Nexus 6P
      19    smartphones sold in the United States, or information from which the approximate number of Nexus 6P

      20    smartphones sold in the United States could be derived or estimated.
      21             5.      The approximate number of Nexus 6P smartphones sold in the United States, and
      22    information from which that approximate number could be derived, is competitively sensitive business
      23    and financial information. Google develops and sells smartphones. Google’s supplier contracts for the
      24    purchase of smartphone components depend at least in part on forecasts about the number of
      25    smartphones likely to be sold, and the public disclosure of information about the number of Nexus 6P

      26    smartphones sold in the United States may affect Google’s ability to competitively negotiate pricing in

      27    future supplier contracts. Similarly, when Google negotiates with retail partners regarding sales of

      28    Google’s smartphones, the negotiations depend at least in part on forecasts about the number of
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        1   smartphones likely to be sold, and the public disclosure of information about the number of Nexus 6P

        2   smartphones sold in the United States may affect Google’s ability to competitively negotiate the terms of

        3   contracts with its retail partners. As a result, Google considers product-level sales figures, such as the

        4   approximate number of Nexus 6P smartphones sold in the United States or information from which the

        5   number could be derived, to be confidential, and it is Google’s policy not to disclose this type of

        6   information. Google does not disclose this type of information in the ordinary course of its business.

        7   Consistent with the confidential nature of this information, Google designated information regarding its

        8   sales of the Nexus 6P smartphone in the United States as “HIGHLY CONFIDENTIAL – ATTORNEY’S

        9   EYES ONLY” under the Parties’ Stipulated Protective Order (ECF 140) when disclosing this
      10    information in discovery.
      11             6.      Courts in this district have sealed product-specific sales information under the
      12    “compelling reasons” standard articulated by Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172,
      13    1178 (9th Cir. 2006). See, e.g., TVIIM, LLC v. McAfee, Inc., No. 13-CV-04545-HSG, 2015 WL
      14    4448022, at *3 (N.D. Cal. July 19, 2015) (sealing number of product units sold, where designating party
      15    contended public disclosure of such information would allow suppliers and competitors to “take
      16    advantage of this information in negotiating pricing information”); Asetek Danmark A/S v. CMI USA,
      17    Inc., No. 13-CV-00457-JST, 2015 WL 12964640, at *2 (N.D. Cal. Aug. 5, 2015) (sealing product sales
      18    data, where designating party contended that the release of such highly confidential financial information
      19    would “damage [its] business and competitive position in the market”). Indeed, the Federal Circuit has

      20    held that not sealing “limited portions of the documents containing detailed product-specific financial
      21    information, including . . . sales . . .” is an abuse of discretion. Apple Inc. v. Samsung Electronics Co.,
      22    727 F.3d 1214, 1223-24 (Fed. Cir. 2013).
      23             7.      The redactions to the Motion and the Declaration have been narrowly tailored to seek
      24    sealing only of sealable material. See, e.g., XpertUniverse, Inc. v. Cisco Sys., Inc., No. 17-CV-03848-RS,
      25    2018 WL 2585436, at *1 n.1 (N.D. Cal. May 8, 2018) (granting motion to seal “confidential sales

      26    figures”).

      27             8.      Accordingly, Google requests that the above-identified redacted portions of the Motion

      28    and Declaration remain redacted and under seal.
                                                                  2
                    DECLARATION OF MYISHA FRAZIER IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE MOTION
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        1            I declare under penalty of perjury under the laws of the United States of America that the

        2   foregoing is true and correct. Executed on April 15, 2019, at Mountain View, California.

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                                                                                 MYISHA FRAZIER
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        1                                            CERTIFICATE OF SERVICE

        2            I hereby certify that on April 15, 2019 the within document was filed with the Clerk of the Court
        3   using CM/ECF which will send notification of such filing to the attorneys of record in this case.
        4
                                                                              /s/ Catherine Y. Kim
        5                                                                    CATHERINE Y. KIM
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                    DECLARATION OF MYISHA FRAZIER IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE MOTION
                                     TO SEAL (ECF 193) / CASE NO. 5:17-CV-02185-BLF
